Case 8:20-cv-02118-VMC-AAS Document 1-1 Filed 09/09/20 Page 1 of 3 PageID 6




     Exhibit 1
   Case 8:20-cv-02118-VMC-AAS Document 1-1 Filed 09/09/20 Page 2 of 3 PageID 7
                       Registration #:      TXu002215668
                    Service Request #:      1-9199933841




Mail Certificate


Justin Lampel
555 Skokie Blvd., Suite 500
Northbrook, IL 60062




                                Priority:   Special Handling          Application Date:   September 02, 2020


Correspondent



                                  Name:     Justin Lampel
                                  Email:    jlampel@lampellaw.com
                              Telephone:    (847)845-4345
                                Address:    555 Skokie Blvd., Suite 500
                                            Northbrook, IL 60062
      Case 8:20-cv-02118-VMC-AAS Document 1-1 Filed 09/09/20 Page 3 of 3 PageID 8




                                                                                   Registration Number
                                                                                   TXu 2-215-668
                                                                                   Effective Date of Registration:
                                                                                   September 02, 2020
                                                                                   Registration Decision Date:
                                                                                   September 03, 2020




    Title
                      Title of Work:        MS Health CI EHR Source Code Files 2


    Completion/Publication
                Year of Completion:         2020

    Author

                 •Author:   MS Health, Inc.
                   Author Created:          HTML and source code
                Work made for hire:         Yes
                              Citizen of:   United States

    Copyright Claimant

                Copyright Claimant:         MS Health, Inc.
                                            325 N Milwaukee Ave Suite G1, Wheeling, IL, 60090, United States
0


1
     Rights and Permissions

                Organization Name:          MS Health, Inc.
    Certification

                                 Name:      Justin Lampel
                                  Date:     September 02, 2020
                                  Date:     September 02, 2020
                                            Approved
                    Correspondence:         Yes




                                                                                                               Page 1 of 1
